







		NO. 12-09-00033-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




MICHAEL BERNARD GARDNER,§
	APPEAL FROM THE 241ST

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant pleaded guilty to the offense of evading arrest.  The trial court assessed punishment
at imprisonment for fifteen years.  We have received the trial court's certification showing that this
is a plea bargain case and Appellant waived his right to appeal.  See Tex. R. App. P. 25.2(d).  The
record supports the trial court's certification.  See Greenwell v. Thirteenth Court of Appeals, 159
S.W.3d 645, 649 (Tex. Crim. App. 2005); Dears v. State, 154 S.W.3d 610, 614-15 (Tex. Crim. App.
2005).  Accordingly, the appeal is dismissed for want of jurisdiction.

Opinion delivered March 4, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.







(DO NOT PUBLISH)


